          Case 1:21-cv-00372-RP Document 4-10 Filed 06/01/21 Page 1 of 43




  TL

  WENHOLZ

  LAW FIRM
                          Pc




                                                August 2 1 , 2 0 1 9




 VIA EMAIL

Mr. William "BJ" Jones

MAYERLLP

750 N. Saint Paul Street

Suite 700

Dallas, TX 75201



          Re:      Our Client:     McCarty Family Real Estate, LLC

                   Date of Loss:   August 1 , 2 0 1 8

                   Location:       5200 Davis Lane, Austin, Texas 78749

                   Your client:    Sabre Commercial, Inc. ("Sabre")

                   Claim N o . :   3334229



 Dear Mr. Jones:



         As we recentl    y discussed, I have collected the water extraction/remediatio□ costs for

 repairs already completed and the estimated cost to remove and replace each of the windows

 in the aforementioned building.         Moreover, I have included additional out of pocket expenses

 and damages attributable to the negligent construction of the building.                 Accordingly, this letter

 shall act as my client's demand for payment of the damage proximately caused by the acts and

 omissions of your client Sabre Construction known to date.             This demand expressly leaves open

 the ability of Balcones Pain Management to demand future losses and damage discovered once

 the windows are removed and for other consequential damages that arise from the construction

 deficiencies.



                                                  LIABILITY




         Sabre and its subcontractors installed all exterior windows in the medical building.

 They were      not properly   flashed    and   sealed.    In   fact,   after   seeing   daylight   around   the

 sills/framing during one recent inspection, one of Sabre's subcontractors commented that his

 firm brought this fact to Sabre's attention during the bidding phase of the project.


         My client hired Amy Gelsone of Wiss Janney Elstner Associates to investigate the

 cause of the moisture issues in the building. During her investigation, Ms. Gelsone discovered

 the windows were not sealed per the applicable building code.                     See    2 0 1 2 IECC.    More

specifically, the building has punched storefront windows and doors with I-inch insulated




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                                                                                                          APP0612
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  glazing, metal awnings over the second level windows, an attached, continuous metal canopy

  over the first level windows on the south half of the building, and a metal roof porte cochere.

  These windows were installed by Sabre.         It is clear from the detail of the second level windows

  that the windows straddle the air cavity space between the weather barrier and the masonry.

  For the automatic sliding doors, each shows flashing intended to close off water and air from

  the cavity, even though we believe the flashing should seal to the window frame rather than

 the brick.       The second level window sills did not have sill flashing.         See Figures 47 and 48

  attached hereto.     The Tyvek was not taped to the base-of-wall flashing. See Figure 88 attached

 hereto.    The sheathing joints were sealed prior to installation of the Tyvek wrap.             At each of

 the sill conditions, no sealant or flashing was installed between the window framing and the

 Tyvek wrapping into the rough opening at the jambs. See Figure 89 attached hereto.                 Daylight

 can be seen from the interior where stone had been removed.             See Figure 90 attached hereto.

 There is no membrane flashing at the rough openings.            See Figure 91 attached hereto.      At each

 of the head conditions, there is no sealant or flashing installed between the window framing

 and the Tyvek wrapping into the rough opening at the jambs.             See Figure 93 attached hereto.

 There was also no sealant or flashing installed between the window framing and the Tyvek at

 the heads or sills. Because flashing of windows is required by code, we believe this was a

 construction issue for the contractor to handle and that an RFI should have been submitted if

 necessary from the design professional.          Our experts strongly believe it is likely the window

 sealant problem proximately caused wet humid conditions resulting in mold growth.



           Our     office   requested   information   several   weeks   ago   to   help   us   analyze   these

 construction deficiencies.        I would re-iterate our request for the following:



           (1)      design documents and revisions for the building in question;



           (2)      architectural plans and revisions;



           (3)      engineering plans and revisions;



           (9)      plumbing/HVAC plans and revisions;



           (5)      contact information for all of Sabre's subcontractors:



           (6)      all bids Sabre submitted for the building in question;



           (7)      all bids from any subcontractor who performed work on the exterior shell of

                   the building, including but not limited to, masonry, window and door

                   installation;


           (8)     Sabre's insurance policy and reservation of rights letter;




           (9)     all correspondence, emails and text messages regarding the construction of the

                   building, including the window installation, change orders, field reports,

                   RFI's; and



           (10)    all As-Builts for the structure, especially the windows.



                                   EXHIBIT J


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                                                                                                    APP0613
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                                                                  DAMAGES




              Since    the     improper         window      installation    has   allowed       excessive      moisture       into   this

     medical   facility,       my   client      has   spent       an enormous     amount        of time,    energy      and    money

     removing and replacing a significant percentage of interior finishes. Surgical procedures have

     been delayed       resulting        loss   of revenue         over   a period   of months.         It has       caused    terrible

     scheduling issues with staff, tenants and most importantly patients.                               The poor construction

     interfered and disrupted the pharmacy, the quiet enjoyment of their offices, their medical

    practice and, more specifically, numerous surgical procedures.



             Prior to this problem, the three operating rooms were fully utilized.                                     The medical

    practice was averaging 5 implant surgeries a month.                           Following the damage, the operating

    rooms were primarily relegated to minor procedures and injections.                              Only 7 implant surgeries

    were performed during the remediation period due to the limited availability of surgical time.

    At $47,223.81 per surgery, the loss of use of the building cost my clients $613,909.53 (13

    operations $47,223.81).                In addition to lost surgeries, the owners had to forego 3 months of

    rent for one of their tenants in the executive space.                   The rent was $8,000.00 per month, costing

    them $24,000.00.



             To mitigate their losses and to determine the best path forward with this problem,                                      our

    client   hired    experts       (MIS)       to   assess   the    indoor     environment       and    advise      them     how     to

    effectively remediate the ensuing damage.                      Ultimately, Blackmon Mooring was hired to make

    these repairs.     The owners also kept your client well apprised of these efforts, meeting them

    to discuss the damage, showing them the damaged property and coordinating the exchange of

    information between experts.                  It is also my understanding that your client has inspected the

    property and       examined the windows and repairs.                        These repairs to the executive                offices,

    operating rooms,           pharmacy         and   other   areas    began     on or   abo ut January         9,   2019     and    are
                                     1
    substantially     complete.          The     repair    costs    currently   amount     to    $728,349.14         solely    for the

    remediation effort to date. The experts are confident that additional                               remediation work will

    need to be performed once the windows are removed.



             My      clients   would       also      ask   that   Sabre   reimburse      them    for   their   expert    costs       and

    attorneys' fees incurred to date $66,778.19.                      In addition to these out of pocket expenses, the

    construction has dramatically impacted scheduling resulting in a loss of key personnel and

    increased staffing costs and lost productivity.



             Finally, experts from Riverstone Building and Consulting believe the cost to remove,

    replace and reinstall the windows will be $685,111.57.                         They also believe it could take up to

    6 months to complete the project.                 As you know, my client has diligently attempted to develop

    and test alternative repairs.           Each less intrusive and costly approach has failed leaving them

    without a feasible alternative to replacing all the windows.




1
    That is assuming additional water and mold damage is not discovered when the windows are removed.




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                                                                                                                            APP0614
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           In summary, my client demands that Sabre reimburse them the following:



           Remediation Costs (incurred):                     $728,349.14



           Estimated cost to repair windows:                 $685,111.57



           Expert and attorney's fees:                       $   66,778.19



           Loss use of the building:                         $613,909.53



           Lost rent                                         $   24,000.00



           Total                                            $2,118,148.43



        Please advise your client that they have 20 days in which to pay these amounts or my client

with initiate legal proceedings.       It is my understanding the insurance company and its experts have

been   evaluating this   claim   for    several   months   and   should   have   a solid   understanding   of the

problem.    Therefore, time is of the essence.      The leaking windows make it a challenge to maintain

proper humidity levels in the building.           Improper humidity levels could create further damage.

This matter is urgent.



        I look forward to hearing from you soon.




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                                                                                                   APP0615
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[ NEST9NE        Riverstone Building & Consulting


                 PO Box 91928

                 Austin, TX 78709

                 (512) 844-8707



            Client:   Balcones Pain

          Property:   5200 Davis Lane

                      Austin, TX 78749




         Operator:    STUART




        Estimator:    Stuart Nolley                                       Business:   ( 5 1 2 ) 554-1993

         Business:    18025 Cap Stone Dr

                      Austin, TX 78739




        Reference:    David Wenholz                                       Business:   (5 12) 4 78-2211

        Company:      Wenholz Law Firm


         Business:    1 3 5 0 1 Galleria Circle, Suite W270

                      Bee Cave, TX 78738




 Type of Estimate:    Construction Defect

    Date Entered:     8/6/2019                           Date Assigned:




        Price List:   TXAU8X        JU L 1 9

 Labor Efficiency:    Restoration/Service/Remodel

        Estimate:     BALCONES-PAIN-CONSUL

     File Number:     RS   19-173




                                                                                                    APP0616
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 [so                     Riverstone B u i l d i n g & Consulting


                         PO Box 9 1 9 2 8

                         Austin, TX 78709

                         ( 5 1 2 ) 844-8707




                                                                  BALCONES-PAIN-CONSUL




                                            Windows and Doors



   DESCRIPTION                                              QTY       REMOVE     REPLACE                TAX               O&P         TOTAL



   I.   R&R    Storefront - bronze   anodized    3,709.00    SF           3.00       4 1. 5 6     7,968.04            36,380.61     209,621.69

   frame - Double pane


   2.   R&RR   Storefront door -bronze anod.         9.00    EA          60.00    3,420.66        2,434.16             7,089.62      40,849.72

   frame, Double pane


  3.    R&R Storefront - auto.sliding door­          2.00    EA         220.00    13,097.68       2,079.00             6,030.02      34,744.38

   Double pane


  4.    R&R Stone trim   - band at header of      269.10    LF            1.95       77.63        1,586.24             4,830.26      27,831.48

   Ist floor, footer of 2nd floor


  5.    R&R Stone veneer - natural stone         1,728.00   SF            5.59       2 1. 1 9     1 , 2 8 1. 6 1       9,987.07      57,544.52

  around windows and doors


  6.    Awning - Aluminum/steel - Detach           54.00    LF            0.00      122.58               0.00          1,390.06       8,009.38

  & reset

  7.    Masonry - General Laborer - per           120.00    HR            0.00       31.52              0.00            794.30        4,576.70

  hour



  8.    Scaffold - per section (per day)        2,700.00    DA           0.00        20.55              0.00          11,651.85      67,136.85



  20 sections of scaffold for 180 days



  9.    Labor to set up and take   down           120.00    EA           0.00        35.81              0.00            902.41        5,199.61

  scaffold - per   section


  Set up and take down for 4 sides of the building


  I0.    Fall protection harness and lanyard      300.00    DA           0.00         8.00              0.00            504.00        2,904.00

  - per day


  IO harness for 30 days.



  11.   Sheathing - plywood - 5/8" C D X ­      1,872.00    SF           0.00         1.54              3.09            606.06       3,492.03

 exterior ground protection


  I2.   Protect - Cover with plastic            2,500.00    SF           0.00         0.35           22.69              188.52        1,086.21


  13.   Metal window flashing- at header,         134.55    LF           0.00         6.78             8.21             193.30        1,113.76

 drip cap


  14.   Flashing - Sill pan flashing ­             57.00    EA           0.00       67.16          242.41               854.81       4,925.34

 plastic - greater than 4.5'


 15.    R&R Air/moisture barrier - at           3,672.00    SF           0,03         1.39           48.47            1,105.18       6,367.89

 windows perimeter


 16.    Mold Testing - post removal of              1.00    EA           0.00    4,500.00              0.00             945.00       5,445.00

 windows/doors


 17.    Drywall repairs around windows          1,836.00    LF           0.00        8.85            34.84            3,419.52      19,702.96


 18.    Paint window jambs, sill, header          57.00     EA           0.00       45.26            18.48             545.64        3,143.94




 Totals:    Windows and Doors                                                                   15,727.24            87,418.23     503,695.46




                                           General Conditions



BALCONES-PAIN-CONSUL                                                                                               8/19/2019             Page: 2




                                                                                                                               APP0617
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 ["ES!NE                        Riverstone Building & Consulting


                                PO Box 9 1 9 2 8

                                Austin, TX 78709

                                ( 5 1 2 ) 844-8707




                                                                           CONTINUED - General Conditions



   DESCRIPTION                                                           QTY            REMOVE                     REPLACE                         TAX                     O&P                  TOTAL



   I9.   Dumpster         load - Approx. 40 yards,               2.00 EA                        742.07                        0.00                  0.00                 3 1 1. 6 7              1,795.81

  7-8    tons of debris



  20.    Temporary security             fencing            3,600.00 LF                            0.00                        3.25                  0.00               2,457.00                14,157.00


  21.    General        clean - up                             360.00     HR                      0.00                      3 4 . 18            1,228.66               2,584.07                1 6, 1 1 7. 5 3


  22.    Project    Management - office                        180.00 HR                          0.00                      59.50                  0.00                2,249.10                1 2, 9 5 9 . 1 0


  23.    Commercial         Supervision -onsite            1,440.00       HR                      0.00                  45.00                      0.00             13,608.00                 78,408.00


  24.    Temporary toilet            (per month)                18.00 MO                         0.00                   164.39                     0.00                 621.39                  3,580.41


  3 toilets      for 2   monts



  25.    Taxes, insurance,            permits   & fees           L.00     EA                     0.00               26,854.00                      0.00                     0.00              26,854.00

  (Bid    Item)



  This    line   item    cost   is   general   approximately 5%     of   construction   cost.




  26.    Construction       Continency                           1.00    EA                      0.00               26,854.00                      0.00                     0.00              26,854.00


  This   line    item    cost   is   general   approximately   5%   of construction     cost,   and   is   an   allowance    for   unforeseen   items   which   come   up during      the   project.




  27.    Job-site cargo/storage container            ­          6.00 MO                          0.00                   87.83                     43.48                 119.80                    690.26

  20' long - per         month




  Totals:    General       Conditions                                                                                                       1 , 2 72. 1 4          2 1 , 9 51 . 0 3          181,416.11




  Line    Item    Totals:       BALCONES-PAIN-CONSUL                                                                                       16,999.38              109,369.26                685,111.57




BALCONES-PAIN-CONSUL                                                                                                                                            8/19/2019                         Page: 3




                                                                                                                                                                               APP0618
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 [!YES!ONE          Riverstone Building consulting


                    PO Box 9 1 9 2 8

                    Austin, TX 78709

                    (512) 844-8707




                                                       Summary


  Line Item Total                                                                           558,742.93


  Material Sales Tax                                                                           15,704.55

  Cleaning Mtl Tax                                                                                   22.99

  Storage Rental Tax                                                                                 43.48



  Subtotal                                                                                  574,513.95

  Overhead                                                                                    52,080.59

  Profit                                                                                      57,288.67

  Cleaning Sales Tax                                                                            1,228.36



  Replacement Cost Value                                                                  $685,111.57

  Net Claim                                                                               $ 6 8 5, 1 1 1 . 5 7




                                       Stuart Nolley




BALCONES-PAIN-CONSUL                                                       8/19/2019               Page: 4




                                                                                       APP0619
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Figure 47. No separate sill flashing observed at secondfloor

windows.




-
Figure 48. No separate sill flashing capping cast stone observed at

secondfloor windows.




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Figure 88. Tyvek wrap, shingled over membrane flashing, not sealed

at base o
        f wall.




                                                                     APP0621
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Figure 89. Lack o
                f sealant or flashing at window to rough opening

interface, with endoscope protruding through joint from interior.




Figure 90. Integral subs ill end dam, with daylight visible beyond




                                                                     APP0622
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Figure 91. Tape but no membrane flashing at rough opening corner;

no membrane patch behind brick tie.




                                                                    APP0623
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Figure 93. Lack o
                f sealant or flashing from window framing to rough

opening at head corner.




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                               BLACKMON M O O R I N G INC. OF AUSTIN

                                        2251   P i c a d i l l y D r . Suite C320

                                            Round Rock, Tx 78664

                                             Phone:      512-730-4267

                                               Fax: 5 1 2 - 8 3 5 - 2 1 4 0


                                                    TAC! A72058E




Customer Name       Balcones Pain Consultants                                 Date:               5/27/2019


Address:            5200 Davis Ln                                             Appointment #       13855900


City, State, Zip:   Austin, TX. 78749                                         Customer ID

                                                                              Invoice             13855900


Worksite Address 5200 Davis Ln




PAYMENT DATE: DUE ON RECEIPT

                                                    Finl    Invoice




Description of Work:

Mold Remediation Services to the following areas as scoped per the protocol provided by M I S :


PACU/OR Phase 2, IT Room 112, Janitors Closet 107, Wellness Room.




                                                                              Sub-Total            $67,882.83



                                                                              Tax                   $5,600.39



                                                                              Total Due            $73,483.22




                                                Please remit payment to

                                               Blackmon Mooring of Austin


                                               2251 Picadilly Dr. Ste. C320


                                                  Round Rock, TX 78664




                                    Regulated by the Texas Department of Licensing & Regulation



                                               P. 0. 80x 12157, Austin, Texas, 78711


                                                          1-800-803-9202




                                                                                                                APP0625
            Case 1:21-cv-00372-RP Document 4-10 Filed 06/01/21 Page 15 of 43



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                          BLACKMO
                               MOORING
                                siNcE 1948                             _    ­




                                     BLACKMON M O O R I N G INC. OF AUSTIN

                                                         2251       P i c a d i l l y Dr. Suite C320

                                                                   Round Rock, Tx 78664

                                                                   Phone:       512-730-4267

                                                                    Fax: 5 1 2 - 8 3 5 - 2 1 4 0


                                                                         TACLA72058E




Customer Name       Balcones Pain Consultants                                                      Date:              5/27/2019


                    5200 Davis Ln                                                                  Appointment#       13832100
Address:

City, State, Zip:   Austin, TX. 78749                                                              Customer ID

                                                                                                   Invoice            13832100


Worksite Address 5200 Davis Ln




PAYMENT DATE: DUE ON RECEIPT

                                                                           Final Invoice




Description of Work:

Mold Remediation Services to the following areas as scoped per the protocol privided by MIS:

Vac Room, Medgas Room, Main Electrical, Mechanical Room, Riser Room ,                                          2nd Floor   W a i ting


Room, Exam    10, Dictation,   Exam          11, Office 218.




                                                                                                   Sub-Total           $57,886.68



                                                                                                   Tax                     $4,775.66



                                                                                                   Total Due           $62,662.34




                                                                      Please remit payment to

                                                                    Blackmon Mooring of Austin


                                                                    2251 Picadilly Dr. Ste. c320


                                                                       Round Rock, TX 78664




                                                 Regulated by the Texas Department of Licensing & Regulation



                                                                     P. 0. Box 12157, Austin, Texas, 78711


                                                                                1-800-803-9202




                                                                                                                                        APP0626
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                               BLACKMON MOORING INC. OF AUSTIN

                                        2251   P i c a d i ll y Dr. Suite C320

                                            Round Rock, Tx 78664

                                             P h o n e : 512-730-4267

                                               Fax: 5 1 2 - 8 3 5 - 2 1 4 0


                                                   TAC LA 72058E




Customer Name       Balcones Pain Consultants                                 Date:               5/27/2019


Address:            5200 Davis Ln                                             Appointment#        13855900


City, State, Zip:   Austin, TX. 78749                                         Customer ID

                                                                              Invoice             13855900


Worksite Address 5200 Davis Ln




PAYMENT DATE: DUE ON RECEIPT

                                                    Final Invoice




Description of Work:

Construction services to the following areas as scoped: ASC/OR Phase 1, PACU/OR Phase 2, IT

Room 112, Janitors Closet 107, Vac Room, Medgas 11oom, Main Electrical, Mechanical Room,

Riser Room, Wellness Room, 2nd Floor Waiting Room, Exam 10, Dictation, Exam 11, Office 218




                                                                              Sub-Total           $165,969.73



                                                                              Tax                  $13,692.57



                                                                              Total Due           $179,662.30




                                                Please remit payment to


                                               Blackmon Mooring of Austin

                                               2251 Picadilly Dr. Ste. C320


                                                  Round Rock, TX 78664




                                    Regulated by the Texas Department of Licensing & Regulation



                                               P. 0. Box 12157, Austin, Texas, 78711


                                                          1-800-803-9202




                                                                                                                APP0627
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                           MOORING
                              siwcE198



                               BLACKMON MOORING INC. OF AUSTIN

                                        2251        Picadilly Dr. Suite CC320

                                                   Round Rock, Tx 78664

                                                   P h o n e : 512-730-4267

                                                     Fax: 5 1 2 - 8 3 5 - 2 1 4 0


                                                         TACI A72058E




Customer Name       McCarty Family Real Estate, LLC                                 Date:          3/16/2019


Address:            5200 Davis Ln                                                   Appointment#   13750800


City, State, Zip:   Austin, TX. 78749                                               Customer ID


                                                                                    Invoice        13750800


Worksite Address 5200 Davis Ln




PAYMENT     DATE: DUE ON RECEIPT


                                            1st Progress I n v o i c e Mold Work




Description of Work:           Invoice i n cl u d e s all mold work for the following areas: Executive


Water Remediation              Suites, Phase 1 of the A S C , 2nd Floor Patient Holding, Water Leaf


                               Waitng Room, P u b l i c Lobby, P u b l i c Hall, Retail.




                                                                                    Sub-Total      $188,567.12



                                                                                    Tax             $14,847.41



                                                                                    Total Due      $203,414.53




                                                     Please remit payment to

                                                    Blackmon Mooring of Austin

                                                          2251 Picadilly Dr.


                                                       Round Rock, TX 78664




                                    Regulated by the Texas Department of Licensing & Regulation



                                                    P. O. Box 12157, Austin, Texas, 78711



                                                               1-800-803-9202




                                                                                                                 APP0628
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                               BLACKMON M O O R I N G INC. OF AUSTIN

                                        2251   Picadilly Dr. Suite CC320

                                            Round Rock, Tx 78664

                                               Phone: 512-730-4267

                                                Fax: 5 1 2 - 8 3 5 - 2 1 4 0


                                                    TACLA72058E




Customer Name       McCarty Family Real Estate, LLC                            Date:              3/16/2019


Address:            5200 Davis Ln                                              Appointment#       13791000


City, State, Zip:   Austin, TX. 78749                                          Customer ID


                                                                               Invoice            13791000


Worksite Address 5200 Davis Ln




PAYMENT DATE: DUE ON RECEIPT

                                    1st Progress Invoice for Reconstruction




Description of Work:           Invoice includes all reconstruction work for the following areas:


Water Remediation              Executive Suites, 2nd Floor P a t i e n t Holding.




                                                                               Sub-Total           $73,597.93



                                                                               Tax                  $6,071.85



                                                                               Total Due           $79,669.78




                                                 Please remit payment to


                                               Blackmon Mooring of Austin


                                                     2251 Picadilly Dr.


                                                  Round Rock, TX 78664




                                    Regulated by the Texas Department of Licensing & Regulation



                                                P. 0. B0x 12157, Austin, Texas, 78711


                                                          1-800-803-9202




                                                                                                                APP0629
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                                                                                                                                Invoice



 Meld
 Inspection   Sciences
                                                                                                                       Date       Invoice#




                ere                                                                                                10/26/2018      5445




  Bill To                                                                                  Corporate Mailing Address


Balcones    Pain Consultants
                                                                                              2512 S IH-35 Ste 110
Attn:   Lauri Rose, Chief Administrator


5200    Davis Ln, #B200
                                                                                                Austin, TX 78704

Austin, TX    78749




                                                         Terms                                         Project




                                                     Upon Receipt                           B u i l d i n g B (Sample Only)




                                                           Description                                   Rate                   Amount
         Quantily


                                                                                                                   110.00               660.00
                          6   Microbial Air Sample

                                                                                                                    90.00               540.00
                          6   Laboratory   Rush   Fees

                                                                                                                   200.00               200.00
                              Courier Service




                                                                                             Total                                 $1,400.00




                                                                         E-Mail                            Web Site
           Phone#



                                                            info@moldinspectiontexas.com      www.moldinspectiontexas.com
        512.535.2493




                                                                                                                              APP0630
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                                                                                                                              Invoice



 Meld
 Inspection   Sciences
                                                                                                                  Date          Invoice   #




            · . -er1
                                                                                                                I 0/26/2018       5537




  Bill To                                                                                    Corporate Mailing Address


Balcones Pain Consultants
                                                                                               2512 S IH-35 Ste 1 1 0
Attn: Lauri Rose, Chief Administrator

5200 Davis Ln, #B200
                                                                                                 Austin, TX 78704

Austin, TX    78749




                                                      Terms                                           Project




                                                    Upon Receipt                                Building B (Day D




                                                         Description                                   Rate                   Amount
       Quantity


                                                                                                                125.00              250.00
                         2   Mobilization
                                                                                                                300.00             1,200.00
                         4   Consulting / On-site Work - 2 Licensed MAC or Project Manager

                                                                                                                125.00                 62.50
                      0.5    Oflsite Consultant
                                                                                                                110.00              990.00
                         9   Microbial Air Sample

                                                                                                                110.00              550.00
                         5   Microbial Surface Sample




                                                                                               Total                             $3,052.50




                                                                       E-Mail                            Web Site
        Phone#



                                                          info@moldinspectiontexas.com          www.moldinspectiontexas.com
      512.535.2493




                                                                                                                          APP0631
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                                                                                                                              Invoice



 M@ld                                                                                                                 Date       Invoice   #


 Inspection   Sciences



                0rI                                                                                             10/29/2018         5538




  Bill   To                                                                                   Corporate Mailing Address


Balcones Pain Consultants
                                                                                                2512 SIH-35 Ste 110
Attn: Lauri Rose, Chief Administrator

5200 Davis Ln, #B200                                                                              Austin, TX 78704

Austin, TX    78749




                                                       Terms                                          Project




                                                     Upon   Receipt                              Building B (Day 2)




                                                            Description                                 Rate                   Amount
         Quantity



                                                                                                                125.00                 375.00
                          3   Mobilization

                              Consulting / On-site Work - 2 Licensed MAC or Project Manager                     300.00              1,200.00
                          4
                                                                                                                105.00                  105.00
                          I   Consulting / On-site Work - Field Tech

                              Oflsite Consultant / Peer Review of Reports                                       125.00                  62.50
                        0.5

                                                                                                                110.00              2,090.00
                         19   Microbial Air Sample

                                                                                                                110.00              1,650.00
                         15   Microbial Surface Sample




                                                                                                Total                             $5,482.50




                                                                          E-Mail                         Web Site
           Phone#




                                                             info@@moldinspectiontexas.com      www.moldinspectiontexas.com
         512.535.2493




                                                                                                                             APP0632
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 M@ld                                                                                                                           Date       Invoice   #


 Inspection   Sciences



               e1en                                                                                                       I 0/30/2018        5539




  Bill To                                                                                             Corporate Mailing Address


Balcones    Pain Consultants
                                                                                                        2512 S IH-35 Ste 110
Attn:   Lauri Rose,   Chief Administrator


5200    Davis Ln, #B200
                                                                                                          Austin, TX 78704

Austin, TX    78749




                                                         Terms                                                Project




                                                       Upon   Receipt                                    Building   B (Day 3)




                                                              Description                                       Rate                     Amount
         Quantity


                                                                                                                          1 25.00                375.00
                          3   Mobilization
                                                                                                                          300.00              1,350.00
                        4.5   Consulting/ On-site    Work - 2   Licensed   MAC or Project   Manager

                                                                                                                          105.00                 472.50
                        4.5   Consulting / On-site   Work - Field   Tech

                                                                                                                          125.00                  62.50
                        0.5   Offsite   Consultant/ Peer Review of Reports

                                                                                                                          110.00              2,640.00
                         24   Microbial   Air Sample

                                                                                                                          I 10.00                22 0.00
                          2   Microbial Surface Sample

                                                                                                                          125.00              1,000.00
                          8   Deliverables - Reports




                                                                                                        Total                               $6,120.00




                                                                                                                    Web Site
           Phone#                                                           E-Mail




                                                               info@moldinspectiontexas.com             www.moldinspectiontexas.com
        512.535.2493




                                                                                                                                       APP0633
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 Inspection   Sciences
                                                                                                                     Date             Invoice   #




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  Bill To                                                                                    Corporate Mailing Address


Balcones Pain Consultants
                                                                                               2512 S IH-35 Ste 110
Attn: Lauri Rose, Chief Administrator

5200 Davis Ln, #B200                                                                             Austin, TX 78704

Austin, TX    78749




                                                    Terms                                             Project




                                                 Upon Receipt                                 Building B (Consultation)




       Quantity                                        Description                                      Rate                        Amount




                                                                                                                125.00                    250.00
                         2   Mobilization

                             Consulting / On-site Work - 2 Licensed MAC or Project Manager                      250.00                   1,000.00
                         4




                                                                                               Total                                   $1,250.00




        Phone#                                                       E-Mail                               Web Site




      512.535.2493                                      info@moldinspectiontexas.com            www.moldinspectiontexas.com




                                                                                                                                APP0634
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 Meld
 Inspection   Sciences
                                                                                                                   Date            Invoice   #




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  Bill To                                                                                    Corporate Mailing Address


Balcones Pain Consultants
                                                                                               2512 S IH-35 Ste 110
Attn: Lauri Rose, Chief Administrator

5200 Davis Ln, #B200                                                                             Austin, TX 78704

Austin, TX     78749




                                                           Terms                                     Project




                                                       Upon Receipt                                Building B




                                                                                                       Rate                      Amount
       Quantity                                              Description




                                  Walk Through / Protocol Amendments

                                                                                                                125.00                 250.00
                              2   Mobilization

                                  On-site Consultant - 2 Licensed MAC or Project Manager                        300.00                 600.00
                              2

                                                                                                                125.00                 250.00
                              2   Deliverables - Reports




                                                                                               Total                                $1,100.00




         Phone#                                                            E-Mail                       Web Site




      5 1 2. 5 3 5. 2 4 9 3                                   info@moldinspectiontexas.com     www.moldinspectiontexas.com




                                                                                                                             APP0635
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 Meld
 Inspection   Sciences
                                                                                                               Date          Invoice    #




               +1ore                                                                                         1/22/2019         5956




  Bill   To
                                                                                          Corporate Mailing Address


Balcones Pain Consultants
                                                                                            2512 SIH-35 Ste 110
Attn: Lauri Rose, Chief Administrator

5200 Davis Ln, #B200
                                                                                             Austin, TX 78704

Austin, TX    78749




                                                                                                  Project
                                                       Terms




                                                   Upon Receipt                                 Building B




                                                                                                    Rate                   Amount
         Quantity                                        Description




                                                                                                             125.00                250.00
                          2   Mobilization

                              On-site Consultant - 2 Licensed MAC or Project Manager                         300.00                600.00
                          2

                                                                                                             125.00                  62.50
                        0.5   Of-Site Work (Admin, Project Coordination, Prep Meetings)

                                                                                                             125.00                250.00
                         2    Deliverables - Reports




                                                                                            Total                             $ 1 , 1 6 2 .5 0




                                                                       E-Mail                        Web Site
           Phone#




         512.535.2493                                     info@moldinspectiontexas.com      www.moldinspectiontexas.com




                                                                                                                         APP0636
                  Case 1:21-cv-00372-RP Document 4-10 Filed 06/01/21 Page 26 of 43




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 Meld
 Inspection   Sciences
                                                                                                                Date          Invoice#




              POI                                                                                             1/28/2019         5957




  Bill To
                                                                                          Corporate Mailing Address


Balcones Pain Consultants
                                                                                            2512 S IH-35 Ste 110
Attn: Lauri Rose, Chief Administrator

5200 Davis Ln, #B200
                                                                                              Austin, TX 78704

Austin, TX    78749




                                                    Terms                                         Project




                                                 Upon Receipt                                    Building B




                                                       Description                                  Rate                    Amount
       Quantity


                                                                                                              125.00                250.00
                         2   Mobilization
                                                                                                              300.00                600.00
                         2   On-site Consultant - 2 Licensed MAC or Project Manager

                                                                                                              125.00                 62.50
                      0.5    Off-Site Work (Admin, Project Coordination, Prep Meetings)




                                                                                            Total                                $912.50




                                                                     E-Mail                           Web Site
        Phone#




                                                        info@moldinspectiontexas.com         www.moldinspectiontexas.com
      512.535.2493




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    Meld
    Inspection           Sciences
                                                                                                              Date          Invoice   #




                                                                                                          2/6/2019            6010

                               e1

   Bill To
                                                                             Corporate Mailing Address:

 Balcones Pain Consultants

 Attn: Lauri Rose, Chief Administrator
                                                                             Mold Inspection Sciences Texas, Inc.
 5200 Davis Ln, #8200

 Austin, TX   787 49                                                         2 5 1 2 S I H - 3 5 Ste 1 1 0

                                                                            Austin, TX       78704




                                      PO#/ Order#                                             Project
         Terms



                                                                                            Building B
     Upon Receipt



                                                       Description                               Rate                    Amount
        Quantity



                             Phase 1 Post Exe. Suite
                                                                                                         125.00                 250.00
                        2    Mobilization
                                                                                                         150.00                 600.00
                        4    On-site Consultant - Licensed MAC or Project Manager

                                                                                                         105.00                 420.00
                        4    Consulting/ On-site Work - Field Tech
                                                                                                         250.00                 250.00
                             Post Remediation Inspection
                                                                                                         1 1 0. 0 0            1,320.00
                       12    Microbial Air Sample
                                                                                                         110.00                 990.00
                        9    Microbial Surface Sample
                                                                                                         100.00               2,100.00
                       21    Immediate TAT Rush Lab Analysis
                                                                                                         240.00                 240.00
                         1   Onsite Lab Fee
                                                                                                         125.00                  187.50
                       1.5   Offsite Deliverables - Reports




                                                                                        Total
                                                                                                                       $6,357.50

     Austin 512.535.2493

      Dallas 214.774.4380                        www.moldtx.com

   Houston 281.652.5353                         billing@moldtx.com                      B a l a n c e Due              $ 6 , 3 5 7. 5 0
San Antonio 210.568.7725




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    Meld
    Inspection            S ci e n c e s
                                                                                                           Date         Invoice   #




                                                                                                         2/8/2019        6011

                              ·6ea

   Bill To
                                                                              Corporate Mailing Address:

 Balcones    Pain   Consultants




 Attn: Lauri Rose, Chief Administrator
                                                                              Mold Inspection Sciences Texas, Inc.
 5200 Davis Ln, #B200

 Austin, TX   787 49                                                          2 5 1 2 S IH-35 Ste 1 1 0

                                                                              Austin, TX    78704




                                       PO#/ Order#                                          Project
         Terms




                                                                                           Building B
     Upon Receipt



                                                                                                Rate                  Amount

        Quantity                                       Description




                              Phase 1 Post 2 Exe. Suite
                                                                                                        125.00              250.00
                          2   Mobilization

                              On-site Consultant - Licensed MAC or Project Manager                      150.00              150.00
                          f
                                                                                                        105.00              105.00
                          1   Consulting/ On-site Work - Field Tech
                                                                                                        250.00              250.00
                              Post Remediation Inspection
                                                                                                        110.00              330.00
                          3   Microbial Air Sample
                                                                                                        100.00              300.00
                          3   Immediate TAT Rush Lab Analysis

                                                                                                        240.00              240.00
                          1   Onsite Lab Fee
                                                                                                        125.00                 62.50
                        0.5   Offsite Deliverables - Reports




                                                                                        Total
                                                                                                                     $1,687.50

     Austin 512.535.2493

     Dallas 214.774.4380                          www.moldtx.com

   Houston 281.652.5353                         billing@moldtx.com                      Balance Due                  $1,687.50
San Antonio 210.568.7725




                                                                                                                    APP0639
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    Meld
    Inspection          Sciences
                                                                                                            Date       Invoice #




                                                                                                         2/13/2019      6118

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                            +




   Bill To
                                                                              Corporate Mailing Address:

 Balcones Pain Consultants

 Attn: Lauri Rose, Chief Administrator
                                                                              Mold Inspection Sciences Texas, Inc.
 5200 Davis Ln, #B200

 Austin, TX   78749                                                           2 5 1 2 S IH-35 Ste 1 1 0

                                                                              Austin, TX    78704




                                     PO#/ Order#                                             Project
         Terms



                                                                                            Building B
     Upon Receipt




                                                     Description                                  Rate               Amount
        Quantity



                            Phase 2 Site Visit/ Walk Through

                                                                                                         125.00            125.00
                        1   Mobilization - 1 Consultant

                                                                                                         150.00           300.00
                       2    On-site Consultant - Licensed MAC or Project Manager

                            Off-Site Work (Adm in, Project Coordination, Prep Meetings)                  125.00               62.50
                      0.5




                                                                                          Total
                                                                                                                     $487.50

     Austin 512.535.2493

     Dallas 214.774.4380                        www.moldtx.com

   Houston 281.652.5353                       billing@moldtx.com                          Balance Due                $487.50
San Antonio 210.568.7725




                                                                                                                   APP0640
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    Meld
    Inspection            Sciences
                                                                                                           Date        Invoice   #




                                                                                                        2/23/2019       6112

                                1ea



   B il l To
                                                                              Corporate Mailing Address:

 Balcones Pain Consultants

 Attn: Lauri Rose, Chief Administrator
                                                                              Mold Inspection Sciences Texas, Inc.
 5200 Davis Ln, #8200

 Austin, TX    787 49                                                         2 5 1 2 S IH-35 Ste 1 1 0

                                                                             Austin, TX     78704




                                       PO# Order#                                           Project
           Terms




                                                                                           Building B
      Upon Receipt



                                                       Description                              Rate                 Amount
          Quantity



                              Phase 2 Post 2
                                                                                                        125.00                62.50
                        0.5   Mobilization - 1 Consultant

                              On-site Consultant - Licensed MAC or Project Manager                      150.00             150.00
                          1
                                                                                                        250.00             250.00
                              Post Remediation Inspection
                                                                                                        110.00             330.00
                         3    Microbial Air Sample
                                                                                                        100.00             300.00
                         3    Laboratory Rush Fees
                                                                                                        240.00             120.00
                        0.5   Onsite Lab Fee
                                                                                                        125.00                62.50
                        0.5   Offsite Deliverables - Reports




                                                                                        Total
                                                                                                                    $1,275.00



      Austin 512.535.2493

      Dallas 214.774.4380                         www.moldtx.com

   Houston 281.652.5353                          billing@moldtx.com                     Balance Due                 $1,275.00

San Antonio 210.568.7725




                                                                                                                  APP0641
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    Meld
    Inspection           Sciences
                                                                                                          Date        Invoice #




                                                                                                       2123/2019       6113

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   Bill To
                                                                             Corporate Mailing Address:

 Balcones Pain Consultants

 Attn: Lauri Rose, Chief Administrator
                                                                             Mold Inspection Sciences Texas, Inc.
 5200 Davis Ln, #8200

 Austin, TX   787 49                                                         2 5 1 2 S IH-35 Ste 1 1 0

                                                                            Austin, TX     78704




                                      PO#/ Order#                                          Project
         Terms



                                                                                          Building B
     Upon Receipt



                                                                                               Rate                 Amount
        Quantity                                      Description



                             Phase 2.2 Post
                                                                                                       125.00                62.50
                       0.5   Mobilization - 1 Consultant
                                                                                                       150.00             150.00
                         1   On-site Consultant - Licensed MAC or Project Manager
                                                                                                       250.00             250.00
                             Post Remediation Inspection
                                                                                                       110.00             330.00
                        3    Microbial Air Sample
                                                                                                       100.00             300.00
                        3    Laboratory Rush Fees
                                                                                                       240.00             120.00
                       0.5   Onsite Lab Fee
                                                                                                       125.00                62.50
                       0.5   Offsite Deliverables - Reports




                                                                                       Total
                                                                                                                   $1,275.00


     Austin 512.535.2493

      Dallas 214.774.4380                        www.moldtx.com

   Houston 281.652.5353                         billing@moldtx.com                     Balance Due                 $1,275.00
San Antonio 210.568.7725




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    Meld
    Inspection          S ci e n c e s
                                                                                                                          Date       Invoice#




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   Bill To
                                                                                          Corporate Mailing Address:

 Balcones Pain Consultants

 Attn: Lauri Rose, Chief Administrator
                                                                                          Mold Inspection Sciences Texas, Inc.
 5200 Davis Ln, #B200

 Austin, TX   78749                                                                       2 5 1 2 S I H - 3 5 Ste 1 1 0

                                                                                          Austin, TX      78704




                                       PO# I Order#                                                        Project
         Terms



                                                                                                         Building B
     Upon Receipt




                                                          Description                                         Rate                 Amount
        Quantity


                                                          ,
                            Phase 2 Post 2
                                                                                                                      125.00            250.00
                        2   Mobilization - 2 Consultants
                                                                                                                      150.00            450.00
                        3   On-site   Consultant   -   Licensed   MAC   or   Project   Manager




                                                                                                                      105.00            315.00
                        3   Consulting/ On-site Work - Field Tech

                                                                                                                      250.00            250.00
                            Post Remediation Inspection
                                                                                                                      110.00           1,320.00
                      12    Microbial Air Sample
                                                                                                                      110.00            110.00
                        1   Microbial Surface Sample
                                                                                                                      100.00          1,300.00
                      13    Laboratory Rush   Fees
                                                                                                                      240.00            240.00
                        1   Onsite Lab Fee
                                                                                                                      125.00                62.50
                      0.5   Offsite Deliverables - Reports




                                                                                                     Total
                                                                                                                                  $4,297.50

     Austin 512.535.2493

     Dallas 214.774.4380                               www.moldtx.com

   Houston 281.652.5353                        billing@moldtx.com                                    Balance Due                  $4,297.50
San Antonio 210.568.7725




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                   Case 1:21-cv-00372-RP Document 4-10 Filed 06/01/21 Page 33 of 43




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    Meld
    Inspection          S ci e n c e s
                                                                                                           Date       Invoice #




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   Bill To
                                                                            Corporate Mailing Address:

 Balcones Pain Consultants

 Attn: Lauri Rose, Chief Administrator
                                                                            Mold Inspection Sciences Texas, Inc.
 5200 Davis Ln, #B200

 Austin, TX   78749                                                        2 5 1 2 S I H - 3 5 Ste 1 1 0

                                                                           Austin, TX      78704




                                     PO#/ Order#                                            Project
         Terms



                                                                                          Building B
     Upon Receipt



                                                     Description                               Rate                 Amount
        Quantity



                            Phase 2 Post 3
                                                                                                       125.00                62.50
                      0.5   Mobilization - 1 Consultant
                                                                                                       150.00             150.00
                        1   On-site Consultant - Licensed MAC or Project Manager

                                                                                                       250.00             250.00
                            Post Remediation Inspection

                                                                                                       110.00             220.00
                       2    Microbial Air Sample
                                                                                                       100.00             200.00
                       2    Laboratory Rush   Fees
                                                                                                       240.00             120.00
                      0.5   Onsite Lab Fee
                                                                                                       125.00                62.50
                      0.5   Offsite Deliverables - Reports




                                                                                      Total
                                                                                                                   $1,065.00

     Austin 512.535.2493

     Dallas 214.774.4380                        www.moldtx.com

   Houston 281.652.5353                       billing@moldlx.com                      Balance          Due         $1,065.00
San Antonio 210.568.7725




                                                                                                                  APP0644
                     Case 1:21-cv-00372-RP Document 4-10 Filed 06/01/21 Page 34 of 43




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    I n s p e c ti o n    Sciences
                                                                                                           Date        Invoice#




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   B il l To
                                                                              Corporate Mailing Address:

 Balcones Pain Consultants

 Attn: Lauri Rose, Chief Administrator
                                                                              Mold Inspection Sciences Texas, Inc.
 5200 Davis Ln, #8200

 Austin, TX    787 49                                                         2 5 1 2 S IH-35 Ste 1 1 0

                                                                             Austin, TX     78704




                                       PO# I Order#                                         Project
           Terms



                                                                                           Building 8
      Upon Receipt



                                                       Description                              Rate                 Amount
          Quantity



                              Phase 2.2 Post 2
                                                                                                        125.00                62.50
                        0.5   Mobilization- 1 Consultant

                              On-site Consultant - Licensed MAC or Project Manager                      150.00            150.00
                          1
                                                                                                        250.00            250.00
                              Post Remediation Inspection

                                                                                                        110.00            220.00
                         2    Microbial Air Sample
                                                                                                        100.00            200.00
                         2    Laboratory Rush Fees
                                                                                                        240.00            120.00
                        0.5   Onsite Lab Fee

                                                                                                        125.00                62.50
                        0.5   Offsite Deliverables - Reports




                                                                                        Total
                                                                                                                    $1,065.00

      Austin 512.535.2493

      Dallas 214.774.4380                         www.moldtx.com

   Houston 281.652.5353                          billing@moldtx.com                     Balance         Due         $1,065.00
San Antonio 210.568.7725




                                                                                                                  APP0645
                   Case 1:21-cv-00372-RP Document 4-10 Filed 06/01/21 Page 35 of 43




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    Meld
    Inspection           Sciences
                                                                                                             Date        Invoice #




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   Bill To
                                                                             Corporate Mailing Address:

 Balcones Pain Consultants

 Attn: Lauri Rose, Chief Administrator
                                                                             Mold Inspection Sciences Texas, Inc.
 5200 Davis Ln, #B200

 Austin, TX   787 49                                                         2 5 1 2 S I H - 3 5 Ste 1 1 0

                                                                            Austin, TX       78704




                                          PO#/ Order#                                         Project
         Terms



                                                                                            Building B
     Upon Receipt



                                                        Description                              Rate                  Amount
        Quantity



                             Site Visit
                                                                                                         125.00              125.00
                         1   Mobilization- 1 Consultant

                             On-site Consultant - Licensed MAC or Project Manager                        150.00              225.00
                       1.5
                                                                                                         125.00              187.50
                       1.5   Offsite Deliverables - Reports




                                                                                        Total
                                                                                                                       $537.50



     Austin 512.535.2493

     Dallas 214.774.4380                          www.moldtx.com

   Houston 281.652.5353                          billing@moldtx.com                     Balance          Due           $537.50

San Antonio 210.568.7725




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                   Case 1:21-cv-00372-RP Document 4-10 Filed 06/01/21 Page 36 of 43




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    Meld
    Inspection          Sciences
                                                                                                            Date       Invoice#



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   Bill To
                                                                            Corporate Mailing Address:

 Balcones Pain Consultants

 Attn: Lauri Rose, Chief Administrator
                                                                            Mold Inspection Sciences Texas, Inc.
 5200 Davis Ln, #8200

 Austin, TX   78749                                                         2 5 1 2 S I H - 3 5 Ste 1 1 0

                                                                           Austin, TX       78704




         Terms                       PO#/ Order#                                            Project




     Upon Receipt                                                                          Building B




                                                     Description                                Rate                 Amount
        Quantity



                            Post

                            Weekend Mobilization - 1 Consultant                                         350.00            350.00
                        1

                            On-site Consultant - Licensed MAC or Project Manager                        150.00            225.00
                      1.5

                            Post Remediation Inspection                                                 250.00            250.00

                                                                                                        110.00            220.00
                       2    Microbial Air Sample

                            Microbial Surface Sample                                                    110.00            110.00
                        1

                            Laboratory Rush Fees                                                        100.00            300.00
                       3

                            Onsite Lab Fee                                                              240.00            240.00
                        1

                       1    Offsite Deliverables - Reports                                              125.00            125.00




                                                                                       Total
                                                                                                                    $1,820.00

     Austin 512.535.2493

     Dallas 214.774.4380                        www.moldtx.com

   Houston 281.652.5353                        billing@moldtx.com                      Balance Due                  $1,820.00
San Antonio 210.568.7725




                                                                                                                   APP0647
                  Case 1:21-cv-00372-RP Document 4-10 Filed 06/01/21 Page 37 of 43




                                                                                                                                      Invoice



 Meld
 Inspection   Sciences
                                                                                                                              Date       Invoice #




            #or.er                                                                                                       4/29/2019         6628




  Bill To                                                                                             Corporate Mailing Address


Balcones Pain Consultants
                                                                                                        2512 SIH-35 Ste 110
Attn: Lauri Rose, Chief Administrator

5200 Davis Ln, #ll200                                                                                     Austin, TX 78704

Austin, TX    78749




                                                       Terms                                                  Project




                                                    Upon Receipt                                          Building B (Post)




                                                           Description                                          Rate                   Amount
       Quantity


                                                                                                                        125.00                 250.00
                         2   Mobilization (2 Consultant,    I job same day)

                             Consulting / On-site Work (I    Licensed MAC or Project Manager)                           150.00                 375.00
                      2.5

                             Consulting / On-site Work - Field Tech (I        Consultant)                               105.00                 262.50
                      2.5

                                                                                                                        250.00                 250.00
                             Post Remediation Inspection

                                                                                                                        110.00                 550.00
                         5   Microbial Air Sample

                                                                                                                        I I0.00                110.00
                         I   Microbial Surface Sample

                                                                                                                        100.00                 600.00
                         6   Laboratory Rush Fees

                                                                                                                        240.00                 240.00
                             Onsite Lab Fee ( I job same day)

                                                                                                                        125.00                  62.50
                      0.5    Offsite Deliverables - Documentation and Reporting




                                                                                                        Total                             $2,700.00




                                                                             E-Mail                               Web Site
        Phone#




      512.535.2493                                          in fo@mo   Id   in spcctio nte xas. com      www.moldinspectiontexas.com




                                                                                                                                     APP0648
                   Case 1:21-cv-00372-RP Document 4-10 Filed 06/01/21 Page 38 of 43




                                                                                                                        Invoice



    Meld
    Inspect i on        Sciences
                                                                                                               Date           Invoice #




                                                                                                            5/13/2019           6749

                              tore

   Bill To
                                                                                 Corporate Mailing Address:

 Balcones Pain Consultants

 Attn: Lauri Rose, Chief Administrator
                                                                                 Mold Inspection Sciences Texas, Inc.
 5200 Davis Ln, #8200

 Austin, TX   78749                                                              2 5 1 2 S IH-35 Ste 1 1 0

                                                                                 Austin, TX     78704




         Terms                         PO#/ Order#                                              Project




     Upon Receipt                                                                      Building B, Janitors Closet




                                                       Description                                  Rate                   Amount
        Quantity



                        1   Mobilization (1   Consultant,   1 job same day)                                125.00                 125.00

                            Consulting/ On-site Work (1      Licensed MAC or Project                       150.00                 150.00
                        1

                            Manager)

                            Post Remediation Inspection                                                    250.00                 250.00

                        2   Microbial Air Sample                                                           110.00                 220.00

                            Microbial Surface Sample                                                       110.00                 110.00
                        1

                            Laboratory Rush Fees                                                           100.00                 300.00
                        3

                            Onsite Lab Fee (1 job same day)                                                240.00                 240.00

                            Offsite Deliverables - Documentation and Reporting                             125.00                   62.50
                      0.5




                                                                                           Total
                                                                                                                        $ 1 ,4 5 7 . 5 0



     Austin 512.535.2493

     Dallas 214.774.4380                          www.moldtx.com

   Houston 281.652.5353                          billing@moldtx.com                        Balance         Due          $ 1 ,4 5 7 . 5 0


San Antonio 210.568.7725




                                                                                                                      APP0649
                   Case 1:21-cv-00372-RP Document 4-10 Filed 06/01/21 Page 39 of 43




                                                                                                                  Invoice



    Meld
    Inspection          Sciences
                                                                                                         Date        Invoice#




                                                                                                      3/27/2019       6365

                            sic

   Bill To
                                                                            Corporate Mailing Address:

 Balcones Pain Consultants

 Attn: Lauri Rose, Chief Administrator
                                                                            Mold Inspection Sciences Texas, Inc.
 5200 Davis Ln, #B200

 Austin, TX   78749                                                         2 5 1 2 S IH-35 Ste 1 1 0

                                                                           Austin, TX     78704




                                     PO#/ Order#                                          Project
         Terms



                                                                                         Building B
     Upon Receipt




                                                     Description                              Rate                 Amount
        Quantity



                            Post
                                                                                                      125.00            250.00
                       2    Mobilization- 1 Consultant

                            On-site Consultant - Licensed MAC or Project Manager                      150.00            600.00
                       4
                                                                                                      250.00            250.00
                            Post Remediation Inspection

                                                                                                      110.00            770.00
                       7    Microbial Air Sample

                                                                                                      110.00            660.00
                       6    Microbial Surface Sample
                                                                                                      100.00           1,300.00
                      13    Laboratory Rush Fees

                                                                                                      240.00            240.00
                       1    Onsite Lab Fee

                                                                                                      125.00            187.50
                      1.5   Offsite Deliverables - Reports




                                                                                      Total                       $4,257.50

     Austin 512.535.2493

     Dallas 214.774.4380                        www.moldtx.com

   Houston 281.652.5353                        billing@moldtx.com                     Balance Due                 $4,257.50
San Antonio 210.568.7725




                                                                                                                APP0650
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                                                                                                                       Invoice



    Meld
    Inspection          Sciences
                                                                                                              Date           Invoice#




                                                                                                           5/1812019           6800

                              Gu

   Bill To
                                                                                 Corporate Mailing Address:

 Balcones Pain Consultants

 Attn: Lauri Rose, Chief Administrator
                                                                                 Mold Inspection Sciences Texas, Inc.
 5200 Davis Ln, #8200

 Austin, TX   78749                                                              2 5 1 2 S IH-35 Ste 1 1 0

                                                                                 Austin, TX    78704




         Terms                         PO# I Order#                                            Project




     Upon Receipt                                                                             Building B




                                                       Description                                 Rate                   Amount
        Quantity



                            Post - Wellness Area

                            Mobilization (1   Consultant,   1 job same day)                                125.00                125.00

                            Consulting I On-site Work (1     Licensed MAC or Project                       150.00                150.00
                        1

                            Manager)

                            Post Remediation Inspection                                                    250.00                250.00

                            Microbial Air Sample                                                           110.00                220.00
                        2

                            Microbial Surface Sample                                                       110.00                110.00
                        1

                            Laboratory Rush     Fees                                                       100.00                300.00
                        3

                            Onsite Lab Fee (1 job same day)                                                240.00                240.00

                      0.5   Offsite Deliverables - Documentation and Reporting                             125.00                  62.50




                                                                                          Total
                                                                                                                       $ 1 , 4 5 7. 5 0



     Austin 512.535.2493

     Dallas 214.774.4380                          www.moldtx.com

   Houston 281.652.5353                          billing@moldtx.com                       Balance          Due         $ 1 ,4 5 7 . 5 0
San Antonio 210.568.7725




                                                                                                                     APP0651
                   Case 1:21-cv-00372-RP Document 4-10 Filed 06/01/21 Page 41 of 43




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    Meld
    Inspection           S ci e n c e s
                                                                                                                 Date           Invoice#




                                                                                                              6/4/2019            6940

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   Bill To
                                                                                  Corporate Mailing Address:

 Balcones Pain Consultants

 Attn: Lauri Rose, Chief Administrator
                                                                                  Mold Inspection Sciences Texas, Inc.
 5200 Davis Ln, #B200

 Austin, TX   787 49                                                              2 5 1 2 S IH-35 Ste 1 1 0

                                                                                  Austin, TX    78704




         Terms                         PO# Order#                                               Project




     Upon Receipt                                                                              Building B




                                                        Description                                 Rate                     Amount
        Quantity



                             Post - I T Room

                             Mobilization (1   Consultant,   1 job same day)                                125.00                  125.00

                             Consulting/ On-site Work (1      Licensed MAC or Project                       150.00                  150.00
                         1

                             Manager)

                             Post Remediation Inspection                                                    250.00                  250.00

                             Microbial Air Sample                                                           1 1 0. 0 0              220.00
                         2

                             Microbial Surface Sample                                                       110.00                  110.00
                         1

                             Laboratory Rush Fees                                                           100.00                  300.00
                        3
                                                                                                            240.00                  240.00
                         1   Onsite Lab Fee

                             Offsite Deliverables - Documentation and Reporting                             125.00                    62.50
                       0.5




                                                                                           Total
                                                                                                                          $ 1 ,4 5 7 . 5 0

     Austin 512.535.2493

     Dallas 214.774.4380                           www.moldtx.com

   Houston 281.652.5353                           billing@moldtx.com                        Balance Due                   $ 1 , 4 5 7. 5 0
San Antonio 210.568.7725




                                                                                                                         APP0652
                   Case 1:21-cv-00372-RP Document 4-10 Filed 06/01/21 Page 42 of 43




                                                                                                                         Invoice


    Meld
    Inspection          Sciences
                                                                                                                Date        Invoice#




                                                                                                             5/19/2019       6801

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   Bill To
                                                                                   Corporate Mailing Address:

 Balcones Pain Consultants

 Attn: Lauri Rose, Chief Administrator
                                                                                   Mold Inspection Sciences Texas, Inc.
 5200 Davis Ln, #B200

 Austin, TX   78749                                                                2 5 1 2 S IH-35 Ste 1 1 0

                                                                                   Austin, TX    78704




         Terms                         P O # / Order#                                            Project




     Upon Receipt                                                                               Building B




        Quantity                                           Description                               Rate                 Amount



                            Post 2 - W el l n e s s Area

                            Mobilization (1 Consultant, 1 job same day)                                      125.00            125.00

                        1   Consulting/ On-site Work (1        Licensed MAC or Project                       150.00            150.00

                            Manager)

                            Post Remediation Inspection                                                      250.00            250.00

                       2    Microbial Air Sample                                                             110.00            220.00

                       2    Laboratory Rush Fees                                                             100.00            200.00

                            Onsite Lab Fee (1 job same day)                                                  240.00            240.00

                      0.5   Offsite Deliverables - Documentation and Reporting                               125.00                62.50




                                                                                            Total
                                                                                                                         $1,247.50



     Austin 512.535.2493

     Dallas 214.774.4380                            www.moldtx.com

   Houston 281.652.5353                           billing@moldtx.com                        Balance Due                  $1,247.50


San Antonio 210.568.7725




                                                                                                                       APP0653
                       Case 1:21-cv-00372-RP Document 4-10 Filed 06/01/21 Page 43 of 43

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        Meld
        I n s p e c ti o n   S cien ces
                                                                                                                      Date        Invoice   #




                                                                                                                    5/24/2019      6832

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       Bill To
                                                                                         Corporate Mailing Address:
    Balcones Pain Consultants

    Attn: Lauri Rose, Chief Administrator
                                                                                         Mold Inspection Sciences Texas, Inc.
    5200 Davis Ln, #8200

    Austin, TX   78749                                                                   2 5 1 2 S IH-35 Ste 1 1 0

                                                                                         Austin, TX    78704




             Terms                          PO#/ Order#                                                Project




         Upon Receipt                                                                                 Building B




            Quantity                                          Description                                  Rate                 Amount



                                  Post - Pharmacy / Compounding

                                 Mobilization (1 Consultant, 1 job same day)                                       125.00             125.00

                         0.75    C o nsu lti n g / On-site Work (1   Licensed MAC or Projecl                       150.00             112.50

                                 Manager)

                                 Post Remediation Inspection                                                       250.00            250.00

                             2   Microbial Air Sample                                                              110.00            220.00

                          0.5    Offsite Deliverables - Documentation and Reporting                                125.00                62.50




                                 otal from the last payment should have been $2705.00

                                 We applied the $10 overage to this total amount due.




                                                                                                  Total
                                                                                                                                $770.00

         Austin 512.535.2493

         Dallas 214.774.4380                            www.moldtx.com

      Houston 281.652.5353                            billing@moldtx.com                          Balance          Due          $760.00
  San Antonio 210.568.7725




                                                                                                                             APP0654
